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  __________________________________________________________________________________as the
                                                      (party name)

  ✔ appellant(s)      appellee(s)     petitioner(s)      respondent(s)     amicus curiae       intervenor(s)   movant(s)


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